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 9
                                      UNITED STATES DISTRICT COURT
10
                                   NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN FRANCISCO DIVISION
12

13 UNITED STATES OF AMERICA,                          )   NO. CR 21-00416 JD
                                                      )
14           Plaintiff,                               )
                                                      )   UNITED STATES’ AMENDED SENTENCING
15      v.                                            )   MEMORANDUM
                                                      )
16 CELIN DAVID DOBLADO-CANACA,                        )   Sentencing Date: November 21, 2022
                                                      )   Sentencing Time: 10:30 a.m.
17           Defendant.                               )
                                                      )
18                                                    )
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20           The government files this amended sentencing memorandum only to inform the Court of
21 another, similar case involving a substantially similar set of facts that was resolved recently in this

22 District. In its sentencing memorandum, the government listed a number of cases involving fentanyl-

23 related overdoses that resulted in sentences similar to the one proposed by the government in this case,

24 which is a 72 month custodial term. Approximately one week ago, in United States v. Sanchez, 20-cr-

25 373 EJD, the defendant was sentenced to 75 months in prison to be followed by three years of

26 supervised release. The facts in that case tragically mirror this one – the defendant distributed fentanyl-

27 laced pills that caused the overdose death of a victim who bought pills from the defendant. Similar to

28 this case, the defendant was a street-level narcotics dealer who sold fentanyl but did not intend to kill the

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 1 victim. Weighing the 3553(a) factors, the Court in the Sanchez case believed that a 75 month sentence

 2 was appropriate given the harm done to the victim as well as the defendant’s role in the offense. The

 3 government believes a similar sentence is appropriate here.

 4         For the reasons set forth in its sentencing memorandum, and based in part on the fact that other
 5 Courts in this District have meted out similar sentences in similar cases, the government recommends a

 6 sentence of 72 months in custody, to be followed by three years of supervised release, and restitution in

 7 this case.

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     DATED: November 15, 2022                                    Respectfully submitted,
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11                                                               STEPHANIE M. HINDS
                                                                 United States Attorney
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                                                                  /s/ Ross Weingarten
13                                                               ROSS WEINGARTEN
                                                                 Assistant United States Attorney
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     US SENTENCING MEMORANDUM                           2
